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        &lt;div&gt;&lt;header&gt;&lt;p id="Page" data-paragraph-id="35c0804c86"&gt; 1 &lt;/p&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="5cb99065bf"&gt;&lt;span data-sentence-id="97afeec7d8" quote="false" data-paragraph-id="5cb99065bf"&gt; C.S., Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="41322eb57e" quote="false" data-paragraph-id="5cb99065bf"&gt; &lt;br /&gt; The People of the State of Colorado, Respondent &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="555b4b34be"&gt;&lt;span data-sentence-id="6eadc57e33" quote="false" data-paragraph-id="555b4b34be"&gt; In the Interest of Minor Child: At.R., and Concerning J.M.S. and An.R.&lt;/span&gt; &lt;/p&gt;&lt;p data-paragraph-id="23abd4a67a"&gt;No. 24SC350&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="ca853be1b1"&gt;July 1, 2024&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="d0955463d7"&gt;&lt;span data-sentence-id="06b366b59b" quote="false" data-paragraph-id="d0955463d7"&gt; Court of Appeals Case No. 23CA1257 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;
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